






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00328-CR






JeJuan Shauntel Cooks, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT

NO. CR22698, THE HONORABLE ED MAGRE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		A jury convicted appellant JeJuan Shauntel Cooks of aggravated assault of a public
servant with a deadly weapon.  See Tex. Penal Code Ann. § 22.02(a)(2), (b)(2)(B) (West 2011).   The
jury further found an enhancement paragraph, alleging a previous conviction for aggravated robbery,
to be true and assessed his punishment at confinement for life in the Institutional Division of the
Texas Department of Criminal Justice.  See id. § 12.42(c)(1) (West 2011).

		Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California by presenting a professional evaluation of the record demonstrating why
there&nbsp;are no arguable grounds to be advanced.  See Anders v. California, 386 U.S. 738, 744
(1967);&nbsp;Garner v. State, 300 S.W.3d 763, 766 (Tex. Crim. App. 2009); see also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75&nbsp;(1988).

		Appellant received a copy of counsel's brief and was advised of his right to examine
the appellate record and to file a pro se brief.  See Anders, 386 U.S. at 744; Garner, 300 S.W.3d at
766.  We have received several written responses from appellant--a pro se brief, a supplement to
his pro se brief, and a pro se reply brief.

		We have conducted an independent review of the record, including appellate
counsel's brief and appellant's written responses, and find no reversible error.  See Anders, 386 U.S.
at 744; Garner, 300 S.W.3d at 766; Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App.
2005).  We agree with counsel that the record presents no arguably meritorious grounds for review
and the appeal is frivolous.  The points of error raised in appellant's pro se briefs have no arguable
merit.  See Garner, 300 S.W.3d at 766; Bledsoe, 178 S.W.3d at 827.

		Counsel's motion to withdraw is granted.  The judgment of conviction is affirmed.


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Affirmed

Filed:   July 26, 2012

Do Not Publish


